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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                         :
                                                 :
v.                                               :   Criminal No. RDB-14-0186
                                                 :   Civil No. RDB-19-2312
RICHARD C. BYRD,                                 :
  Defendant.                                     :

                          MOTION TO WITHDRAW AS COUNSEL


       Undersigned counsel respectfully requests that she be permitted to withdraw as counsel to

Richard C. Byrd in this case. Both the Government and Mr. Byrd are aware of this request and

the reasons for it, which are set forth below.

       Undersigned counsel and her partner, Michael R. Sklaire, were appointed to represent Mr.

Byrd because his prior counsel, Gregory Dolin, who remains involved in this case, received an

appointment as an Associate Justice of the Supreme Court of Palau, Appellate Division. Mr.

Sklaire and Ms. Anderson are shareholders (partners) in the law firm of Greenberg Traurig, LLP,

which accepted the appointment and uses other attorneys associated with the firm on Mr. Byrd’s

case from time to time.

       Ms. Anderson has resigned as a shareholder of the firm, effective November 30, 2020, to

accept a position as an in house attorney at a private company, which requires that she spend all

of her time on the company’s matters. Therefore, she will be unable to continue to work on Mr.

Byrd’s case.

       Mr. Sklaire and others at Greenberg Traurig will continue to represent Mr. Byrd, and Ms.

Anderson has been working closely with Mr. Sklaire to ensure a smooth transition.
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       Undersigned counsel therefore respectfully requests that this Court grant her individual

Motion to Withdraw as Counsel effective November 27th.

                                                  Respectfully submitted,
                                                  GREENBERG TRAURIG, LLP
                                                  /s/ Lee Ann Anderson
                                                  _____________________
                                                  Lee Ann Anderson
                                                  Bar ID: 812827
                                                  Greenberg Traurig, LLP
                                                  2101 L Street, N.W.
                                                  Washington, DC 20037
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                                                  andersonle@gtlaw.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for Withdrawal As Counsel was

served this 20th day of November, 2020, via CM/ECF on all parties.



                                                   /s/ Lee Ann Anderson
                                                   _____________________
                                                   Lee Ann Anderson
                                                   Attorney for Richard C. Byrd
